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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
ORDER

-against-
19cr663-3 (ER)
GILBERTO LUCIANO VAZQUEZ,

Defendant.

 

 

To: U.S. Marshal Office

Ramos, D.J.:

 

On November 17, 2021, the court held a bail review hearing and ordered that the
defendant be remanded.

The defendant, Gilberto Luciano Vazquez, is ordered to surrender his person to the
custody of the U.S. Marshals at the Federal Building in San Juan, Puerto Rico on Thursday,
November 18, 2021, on or before 12:00 pm.

It is SO ORDERED.

Dated: New York, New York
Novembre 17, 2021

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Edgardo Ramos, U.S.D.J.

 
